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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES − GENERAL


   Case No. 8:18−cv−00190−JVS−KES                     Date       12/17/2018

   Title      NICHOLAS VAN BURREN V. ENVII, INC. ET AL


   Present:       The Honorable     James V. Selna , U. S. District Judge
                  Karla Tunis                                 Sharon Seffens
                  Deputy Clerk                            Court Reporter/Recorder

      Attorney(s) Present for Plaintiff(s):        Attorney(s) Present for Defendant(s):
                Brian Kinder                                 No Appearance

  Proceedings:     Plaintiff's Application for Default Judgment

         Cause called and counsel make their appearances. The Court's tentative ruling is
    issued. The Court and counsel confer. The Court GRANTS IN PART the Plaintiff's
    application for default judgment and rules in accordance with the tentative ruling
    attached. The Court directs the plaintiff to file the indicated supplemental declaration
    within 10 days.




                                                                                         :02
                                                                    Initials of Preparer: kt




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